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11                             UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
13

14   JULIE PAPADAKIS, Individually and On               Case No. 4:23-cv-00024-JSC
     Behalf of All Others Similarly Situated,
15                                                      CLASS ACTION
                              Plaintiff,
16
            v.                                          PROOF OF SERVICE OF SUMMONS,
17                                                      COMPLAINT, AND OTHER CASE
     SAMUEL BANKMAN-FRIED, CAROLINE                     OPENING DOCUMENTS
18   ELLISON, ZIXIAO “GARY” WANG,
     NISHAD SINGH, ARMANINO LLP, and
19   PRAGER METIS CPAS, LLC,
20                            Defendants.
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                                            PROOF OF SERVICE
